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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                              CASE NO. 6:22-cv-00860

ALBERTO SILVA and MICHAEL ROBERSON,
individually and on behalf of all others similarly situated,       CLASS ACTION

      Plaintiffs,                                      JURY TRIAL DEMANDED

v.

FLORIDA TECHNICAL COLLEGE, INC.,
NATIONAL COLLEGE OF BUSINESS AND
TECHNOLOGY COMPANY, INC. d/b/a NUC UNIVERSITY,
JAMES M. BURKETT, and VIVIAN CORONELL,

      Defendants.
_________________________________________________/

           STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

      Plaintiffs Alberto Silva and Michael Roberson, and Defendant Viviana

Coronell1, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate

to the dismissal without prejudice as to Plaintiffs’ claims against Defendant Viviana

Coronell only, with each party to bear their own fees and costs. Plaintiffs intend to

pursue their claims against all remaining Defendants.




1
 Defendant, Viviana Coronell’s name was misspelled in the First Amended Complaint as
Vivian Coronell.
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Dated: October 5, 2022

Respectfully submitted,
By:   HIRALDO P.A.                       By: HOLLAND & KNIGHT LLP

/s/ Manuel S. Hiraldo                    /s/ Suzanne E. Gilbert
Manuel Hiraldo, Esq.                     Suzanne E. Gilbert, Esq.
Florida Bar No. 030380                   Florida Bar No. 094048
401 E. Las Olas Blvd., Suite 1400        200 South Orange Ave., Suite 2600
Fort Lauderdale, FL 33301                Orlando, FL 32801
mhiraldo@hiraldolaw.com                  suzanne.gilbert@hklaw.com
Telephone: 954-400-4713                  Telephone: 407-244-1142




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